

Matter of Jones (2021 NY Slip Op 04641)





Matter of Jones


2021 NY Slip Op 04641


Decided on August 5, 2021


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:August 5, 2021

PM-101-21
[*1]In the Matter of James A. Jones III, an Attorney. (Attorney Registration No. 2199677.)

Calendar Date:August 2, 2021

Before:Egan Jr., J.P., Aarons, Pritzker, Reynolds Fitzgerald and Colangelo, JJ.

James A. Jones III, Manakin-Sabot, Virginia, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
James A. Jones III was admitted to practice by this Court in 1984 and lists a business address in Richmond, Virginia with the Office of Court Administration. Jones now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Jones's application.
Upon reading Jones's affidavit sworn to June 10, 2021 and filed June 15, 2021, and upon reading the July 26, 2021 correspondence in response by the Chief Attorney for AGC, and having determined that Jones is eligible to resign for nondisciplinary reasons, we grant his application and accept his resignation.
Egan Jr., J.P., Aarons, Pritzker, Reynolds Fitzgerald and Colangelo, JJ., concur.
ORDERED that James A. Jones III's application for permission to resign is granted and his nondisciplinary resignation is accepted; and it is further
ORDERED that James A. Jones III's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that James A. Jones III is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Jones is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold himself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that James A. Jones III shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to him.








